99 F.3d 1132
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Augustine PEREZ, Claimant-Appellant,and$15,716.00 IN U.S. CURRENCY, Defendant.
    No. 95-2843.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 24, 1996.Decided Oct. 10, 1996.
    
      Augustine Perez, Appellant Pro Se.  Ray B. Fitzgerald, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Charlottesville, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before MURNAGHAN, NIEMEYER, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders granting the Government's motion for forfeiture of property and denying Appellant's motion for reconsideration.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   United States v. Perez, No. CA-90-4-L (W.D.Va. Sept. 6 &amp; 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    